           Case 2:20-cv-01513-RFB-NJK Document 37 Filed 10/20/20 Page 1 of 2




 1
 2
 3
 4
 5                             UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7
     DENNIS WILLARD,
 8                                                         Case No.: 2:20-cv-01513-RFB-NJK
            Plaintiff(s),
 9                                                                       ORDER
     v.
10                                                                   [Docket No. 36]
     AINSWORTH GAME TECHNOLOGY,
11
            Defendant(s).
12
13         Pending before the Court is Defendant’s proposed discovery plan. Docket No. 36. On
14 August 24, 2020, the Court ordered Plaintiff to file a notice of appearance of counsel or a notice
15 of intent to appear pro se no later than September 23, 2020. Docket No. 28. On September 2,
16 2020, the Court further ordered Plaintiff to file a certificate of interested parties no later than
17 September 9, 2020, and cautioned Plaintiff that failure to comply with the Court’s order may result
18 in sanctions. Docket No. 33. To date, Plaintiff has not complied with the Court’s orders. See
19 Docket. Defendant now submits that Plaintiff has failed “to comply with LR 26-1 requiring him
20 to initiate the Rule 26(f) conference[.]” Docket No. 36 at 2.
21          Plaintiff has a duty to prosecute his claims. Fed.R.Civ.P. 41(b). Plaintiff also has a duty
22 to comply with the Court’s orders. Accordingly, Plaintiff is hereby ORDERED to contact
23 Defendant’s attorneys no later than October 27, 2020, to confer on a joint proposed discovery plan.
24 Failure to comply with this order and the orders at Docket Nos. 28 and 33 by October 27,
25 2020, will result in a recommendation to the District Judge that this case be dismissed.
26         The Court therefore DENIES Defendant’s discovery plan without prejudice pending
27 Plaintiff’s compliance with this order. The parties SHALL FILE a joint proposed discovery plan
28

                                                    1
          Case 2:20-cv-01513-RFB-NJK Document 37 Filed 10/20/20 Page 2 of 2




 1 no later than October 30, 2020. In the event Plaintiff fails to contact Defendant’s attorneys by
 2 October 27, 2020, Defendant SHALL FILE a notice so indicating.
 3         IT IS SO ORDERED.
 4         Dated: October 20, 2020
 5                                                            ______________________________
                                                              Nancy J. Koppe
 6                                                            United States Magistrate Judge
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  2
